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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-CV-02389-DDD-NRN

   ESTATE OF ELIJAH JAVON MCCLAIN, by and through its personal
   representatives, Sheneen McClain and Lawayne Mosley,
   SHENEEN MCCLAIN, individually, and LAWAYNE MOSLEY, individually,

   Plaintiffs,

   v.

   CITY OF AURORA, COLORADO, a municipality,
   OFFICER NATHAN WOODYARD, in his individual and official capacity,
   OFFICER RANDY ROEDEMA, in his individual and official capacity,
   OFFICER JASON ROSENBLATT, in his individual and official capacity,
   OFFICER MATTHEW GREEN, in his individual and official capacity,
   SERGEANT DALE LEONARD, in his individual and official capacity,
   OFFICER ALICIA WARD, in her individual and official capacity,
   OFFICER KYLE DITTRICH, in his individual and official capacity,
   OFFICER ERICA MARRERO, in her individual and official capacity,
   OFFICER JAMES ROOT, in his individual and official capacity,
   OFFICER JORDAN MULLINS-ORCUTT, in his individual and official capacity,
   OFFICER DARREN DUNSON, in his individual and official capacity,
   SERGEANT RACHEL NUNEZ, in her individual and official capacity,
   LIEUTENANT PETER CICHUNIEC, in his individual and official capacity,
   PARAMEDIC JEREMY COOPER, in his individual and official capacity, and
   DR. ERIC HILL, in his individual capacity,

   Defendants.

   LAWAYNE MOSLEY’S RESPONSE TO PLAINTIFF SHENEEN MCCLAIN'S
     MOTION TO CONFIRM SETTLEMENT AND TO DEPOSIT FUNDS IN
   COURT REGISTRY PENDING ALLOCATION OF SETTLEMENT PROCEEDS
             BETWEEN PLAINTIFFS [Dkt. 100, filed 10/29/21]
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         Plaintiff Lawayne Mosley, individually, hereby submits his Response to

   Plaintiff Sheneen McClain's Motion to Confirm Settlement and to Deposit Funds

   in Court Registry Pending Allocation of Settlement Proceeds Between Plaintiffs

   [Dkt. #100, filed 10/29/21].


                                     I. Introduction

         In July 2021, the parties reached a settlement agreement to resolve this

   matter in full. The parties agreed Plaintiffs would dismiss all claims against the

   individual defendants with prejudice and without payment. They agreed that

   following the dismissal of those claims, the City would execute the settlement

   agreement and then deliver substantial settlement proceeds payable to Elijah’s

   Estate. And they agreed that thereafter the Estate’s remaining federal civil rights

   claims against the City would be dismissed. Under the Colorado Probate Code,

   Mr. Mosley and Ms. McClain, as the sole beneficiaries of Elijah’s Estate, are

   entitled to share equally in the net settlement proceeds to be distributed by Elijah’s

   Estate.

         But now—whether due to avarice or personal animosity toward Mr.

   Mosley—Ms. McClain wants more. She wants the Court to modify the settlement

   agreement. She wants the Court to deviate from the agreed upon terms. And



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   ultimately she wants the Court to misapply an allocation provision in Colorado’s

   Wrongful Death Act to subvert the settlement agreement and the Colorado Probate

   Code. The Court should reject Ms. McClain’s attempts to unfairly enrich herself

   and should instead enforce the settlement agreement as written and agreed to by

   the parties.


                                      II. Discussion

         A.       Factual Background

         In July 2021, the parties reached a global settlement to resolve this matter in

   full. See Exhibit 1, Aff. of D. Killmer with attached 7/23/21 email exchange. The

   City asked Plaintiffs’ counsel to confirm the settlement agreement by email. Ms.

   McClain’s counsel did so, as did Mari Newman, who confirmed Mr. Mosley’s

   agreement “to settle for [an amount certain], payable to the estate of Elijah

   McClain.” Id. The City agreed to draft the settlement agreement, which it did.

         On August 4, 2021, the City circulated its proposed settlement agreement to

   Plaintiffs’ counsel. Because Mr. Mosley and Ms. McClain each had conflicting

   interests individually and as co-PRs of Elijah’s Estate, each retained two sets of

   additional counsel to represent them in those capacities. See Exhibit 2, Aff. of D.

   Struthers.



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         On August 31, 2021, Mr. Mosley signed the City’s settlement agreement as

   drafted by the City and sent it to Ms. McClain’s counsel. See Exhibit 3, 8/31/21

   email from P. Tooley. On September 2, 2021, Ms. McClain’s counsel responded

   by email, stating he wished to include an additional sentence in Recital E. Exhibit

   4, 9/2/2021 email from D. Wartell. As drafted by the City, Recital E states, “The

   Plaintiffs represent that they have no other claims of any kind against any other

   party arising out of the facts alleged in this matter.” Ms. McClain insisted that her

   additional sentence was “not intended to benefit or prejudice any party. It is solely

   intended to clarify the scope and intent of the releases and make clear that this

   settlement agreement is not intended to address issues between the plaintiffs.” Id.

   By reply email that same day, Mr. Mosley’s counsel stated that he had not been

   authorized to approve any changes to the settlement agreement by counsel for Mr.

   Mosley as co-PR of Elijah’s Estate, the additional sentence was unnecessary, and

   requested that the signed settlement agreement be sent to the City. Exhibit 5,

   9/2/21 email from P. Tooley.

         On September 3, 2021, at 5:27 p.m., Mr. Mosley’s counsel emailed a copy

   of the settlement agreement signed by Mr. Mosley to the City, acknowledging

   “that both Ms. McClain and Mr. Mosley have taken the position that each reserves

   all rights, defenses, and arguments concerning any issues relating to the allocation

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   of the settlement proceeds.” See Exhibit 6, 9/3/21 email from P. Tooley.

         At 5:52 p.m., Ms. McClain’s counsel emailed the City “to notify the parties

   of our understanding that there is a final, written, and signed settlement

   agreement.” See Exhibit 7, 9/3/21 email from D. Wartell. Ms. McClain’s counsel

   provided the City with the form of settlement agreement Mr. Mosley had signed,

   along with a second form of settlement agreement signed by Ms. McClain that

   deleted the word “solely” in Recital D (which is a non-issue here) and added the

   following sentence to Recital E: “Nothing in this Agreement shall be construed to

   limit or otherwise impact the rights of the Plaintiffs to seek allocation or

   apportionment of the settlement proceeds between Plaintiffs.” Id. Ms. McClain’s

   counsel advised the City that once Mr. Mosley confirmed he did not object to

   those changes, Ms. McClain would consider the formal execution of the settlement

   agreement to be complete. Id.

         In the succeeding weeks, counsel met and exchanged emails about Ms.

   McClain’s request to append language to Recital E. On September 13, 2021, Mr.

   Mosley’s counsel emailed the City’s and Ms. McClain’s counsel a version of the

   sentence to be appended to Recital E that Ms. McClain’s counsel had tentatively

   indicated appeared to be acceptable. See Exhibit 8, 9/13/21 email from D.

   Struthers. On September 27, 2021, however, Ms. McClain’s counsel advised the

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   City that “I have informed Mr. Mosley’s counsel that we will insist on keeping the

   original proposed language from Ms. McClain making it clear that nothing in the

   settlement agreement affects the plaintiffs[’] rights to seek allocation of the

   settlement proceeds between them. That language is present in the version of the

   settlement agreement signed by Ms. McClain and transmitted to your office earlier

   this month.” Exhibit 9, 9/27/21 email from D. Wartell.

         On September 28, 2021, the City emailed all counsel stating:

         the City would very much like to resolve this settlement and get
         things finalized this week as had been previously discussed and
         agreed to. Prior to the City Attorney signing any settlement
         agreement, the individual defendants need to be dismissed from
         the case. To that end, attached are two stipulated motions to dismiss,
         one for Dr. Hill and one for the remaining individual defendants.
         (emphasis added).

   See Exhibit10, 9/28/21 email from I. Evans, with attachs. Each stipulated motion

   states that the claims against the individual defendants are dismissed with

   prejudice and without payment. Id.

         On October 2, 2021, after an unsuccessful mediation between Plaintiffs, Mr.

   Mosley elected to put the matter to rest and agreed to the form of settlement

   agreement that included Ms. McClain’s sentence added to Recital E. See Exhibit

   11, 10/2/21 email from P. Tooley. Ms. McClain did not object that Mr. Mosley’s

   response was untimely, but on October 3, 2021, made a new demand, namely that

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   the settlement proceeds be paid to her attorney, warning that “Defendants are not

   authorized to pay or transmit settlement funds in any manner other than what is

   specified in this email.” Exhibit 12, 10/2/21 email from D. Wartell. Mr. Mosley

   objected to Ms. McClain’s unilateral demand. See Exhibit 13, 10/2/21 email

   exchange.

         Ms. McClain now seeks relief from the Court that would violate the

   settlement agreement’s express terms. For the reasons stated below, the Court

   should deny Ms. McClain’s motion and instead enforce the settlement agreement

   as written and agreed to by all parties.

         B.     Standard of Review

         Colorado public and judicial policies favor voluntary agreements to settle

   legal disputes, Garner v. FCA Chrysler, 2020 WL 1650450 at *2-3 (D. Colo.,

   April 3, 2020), and the court has the power to summarily enforce a settlement

   agreement entered into by the litigants while the litigation is pending before it.

   Shoels v. Klebold, 375 F.3d 1054, 1060 (10 Cir. 2004). A district court’s decision

   to enforce such an agreement will be affirmed absent an abuse of discretion.

   United States v. Hardage, 982 F.2d 1491, 1495 (10th Cir.1993). An abuse of

   discretion occurs when the district court “base[s] its decision on an erroneous

   conclusion of law or where there is no rational basis in the evidence for the

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   ruling.” Wang v. Hsu, 919 F.2d 130, 130 (10th Cir. 1990).

         Disputes relating to the formation, construction, and enforceability of a

   settlement agreement are resolved by applying state contract law, even when there

   are federal causes of action at issue. United States v. McCall, 235 F.3d 1211, 1215

   (10th Cir. 2000). Where the material facts concerning the existence or material

   terms of a settlement agreement are not in dispute, the Court need not conduct an

   evidentiary hearing. See, e.g., Evans-Carmichael v. United States, 250 Fed.Appx.

   256, 262 (10th Cir. 2007). Cf. United States v. Hardage, 982 F.2d 1491, 1496

   (10th Cir.1993). Here, the material facts establishing the existence of the

   settlement agreement are found in the emails and correspondence attached to this

   Response, and thus no evidentiary hearing is necessary for this Court to determine

   whether an enforceable settlement agreement exists.

         When the terms of the contract are unambiguous and negotiated and

   accepted by the parties, the court considers the settlement an enforceable contract.

   Briones v. JNS Const. Services, LLC, 2009 WL 943767 at *3 (D. Colo., April 6,

   2009). In such cases, the Court has an obligation to effectuate the intent of the

   parties to the settlement agreement “according to the plain language and meaning

   of the contract.” Chandler–McPhail v. Duffey, 194 P.3d 434, 438 (Colo. App.

   2008). It thus enforces the contract as written, “unless there is an ambiguity in the

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   language.” Id.

         Ordinarily, a party who knowingly and voluntarily authorizes the settlement

   of her claims cannot avoid the terms of the settlement simply because she changes

   her mind. Garner v. FCA Chrysler, 2020 WL 1650450 at *3 (D. Colo., April 3,

   2020), citing Woods v. Denver Dep't of Revenue, Treasury Div., 45 F.3d 377, 378

   (10th Cir. 1995). Similarly, a unilateral mistake of one of the parties is generally

   not a valid ground for rescission of the settlement agreement. Shoels v. Klebold,

   375 F.3d at 1066. And the fact that certain formalities remain to be performed,

   such as signing the written agreement, does not reduce such an agreement to the

   status of mere negotiations. City & Cty. of Denver v. Adolph Coors Co., 813 F.

   Supp. 1476, 1481 (D. Colo. 1993).


         C.     The Settlement Agreement is Binding and Should be Enforced as
                Written.

         There is an Enforceable Settlement Agreement Here. Ms. McClain asks the

   Court to determine and reduce to writing the terms of the parties’ settlement

   agreement. But Ms. McClain misunderstands the Court’s role, which is not to

   make a contract for the parties. Schreck v. T & C Sanderson Farms, Inc., 37 P.3d

   510, 514 (Colo. App. 2001) (Courts cannot make contracts for parties and then

   order them specifically performed); DiFrancesco v. Particle Interconnect Corp.,

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    39 P.3d 1243, 1248 (Colo. App. 2001)(court cannot force parties to come to an

    agreement). Instead, the Court’s role is to determine whether an enforceable

    settlement agreement exists in the first instance.

           Here, there is an enforceable settlement agreement. Ms. McClain repeatedly

    asserted that she considered the settlement agreement to be final conditioned upon

    Mr. Mosley agreeing to the inclusion of her additional sentence in Recital E. Ms.

    McClain reaffirmed this position on September 27, 2021, and on October 2, 2021,

    Mr. Mosley reluctantly agreed. Thus, a valid, binding settlement agreement exists.

           But even if Mr. Mosley had never agreed to Ms. McClain’s additional

    sentence, that would not defeat the enforceability of the signed settlement

    agreement for two reasons. First, Ms. McClain’s appended sentence is not a

    material term, and disputes over immaterial terms do not defeat an otherwise

    enforceable contract. Wilson v. Wilson, 46 F.3d 660, 666–67 (7th Cir.1995)

    (unresolved immaterial terms do not prevent meeting of the minds); Dillard v.

    Starcon Intern. Inc., 483 F.3d 502, 508 (7th Cir. 2007)(party’s objection to

    nonmaterial term would not defeat enforceability of settlement agreement);

    Accord: Furstenau v. City of Naperville, 2009 WL 10741785 at *6 (N.D. Ill., June

    17, 2009)(term “does not become material simply because the provision is the

    subject of litigation.”).

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             Recital E simply confirms for the City that Plaintiffs have no claims against

    “any other party arising out the facts alleged in this matter”—that is, Plaintiffs

    have no claims against any other City officer, employee, or agent arising out of

    Elijah’s tragic death. And although Ms. McClain asserted that Recital E was

    potentially ambiguous (it is not), Mr. Mosley has consistently acknowledged and

    agreed that Plaintiffs each retain all claims and defenses that may exist between

    them.1

             Second, even if Ms. McClain’s additional sentence to Recital E were a

    material term, “courts consistently reject the notion that disputes over choice of

    language to express a material term can defeat the settlement.” Steadfast Ins. Co.

    v. Auto Marketing Network, Inc., 2004 WL 906118 at *4 (N.D. Ill., April 28,

    2004). Mr. Mosley and Ms. McClain each proposed language stating, in essence,

    that Recital E did not apply to any disputes between them. They disagreed about

    wording. But whether it was Mr. Mosley, Ms. McClain, or both who were

    intransigent, any dispute that may have existed over the proposed language does

    not defeat the enforceability of the settlement agreement. Wilson, supra, 46 F.3d at



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             Although Mr. Mosley disputes that any legal, equitable, or factual grounds
    exist to allocate a greater portion of the settlement proceeds to Ms. McClain, he
    has never maintained that Recital E would bar any claims or defenses as between
    Plaintiffs.
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    667 (that parties could not agree on whether to execute mutual releases or instead

    covenants not to sue did not defeat settlement agreement).

          Ms. McClain’s Other Requested Relief Would Violate the Settlement

    Agreement. Ms. McClain asks the Court (at page 4 of her motion) to require that

    the settlement proceeds be paid into the registry of the Court before the claims

    against the individual defendants are dismissed. She also argues that it is critical

    that the settlement proceeds be paid to all three plaintiffs. But that is not what

    the settlement agreement says. And because granting the relief Ms. McClain

    seeks would violate the settlement agreement’s express terms, her requested relief

    should be denied.

          The Settlement Agreement Should be Enforced as Written. In clear and

    certain terms, the settlement agreement mandates that the following events must

    occur in the following order: First, all claims against the individual defendants

    must be dismissed with prejudice and without payment. Second, following

    dismissal of those, the City must execute the settlement agreement. Third, within

    ten days thereafter, the City must remit settlement proceeds payable to Elijah’s

    Estate. Fourth, upon receipt of the settlement proceeds, the remaining claims

    against the City must be dismissed. These terms are material and have obvious and

    intended consequences given the nature of the claims in the Amended Complaint

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    [Dkt. 69, filed 1/20/21].

          The Amended Complaint contains two sets of claims. The primary

    claims—federal civil rights claims which confer jurisdiction on the Court—are

    asserted through the co-PRs on behalf of Elijah’s Estate against the City and the

    individual defendants. See Amended Compl., First thru Fifth Claims, ¶¶ 475-600.

    Federal civil rights claims are survival claims owned on behalf of Elijah’s Estate

    by the co-personal representatives, and not by Mr. Mosley and Ms. McClain,

    individually. Harold v. University of Colo. Hospital, 680 Fed.Appx. 666, 672 (10th

    Cir. 2017)(section 1983 claims of deceased Colorado victim must be brought by

    personal representative of victim’s estate). Accord: Berry v. City of Muskogee,

    Okla., 900 F.2d 1489, 1506-07 (10th Cir. 1990)(Section 1983 claim is a survival

    claim to be brought by the estate of the deceased victim); Salazar v. Dowd, 256

    F.Supp. 220, 223 (D. Colo. 1966); C.R.S. § 13-20-101 (authorizing personal

    representatives of deceased to maintain survival claims).

          Conversely, the secondary claims—supplemental state law claims brought

    under Colorado’s Wrongful Death Act—are asserted by Mr. Mosley and Ms.

    McClain, individually. See Amended Compl., Sixth thru Ninth Claims, ¶¶601-667.

    A wrongful death claim is derivative in nature, and no cause of action exists for

    the death of another under Colorado law other than under the Wrongful Death Act.

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    Ball v. United States, 2018 WL 6173754 at *11 (D. Colo., Nov. 26, 2018); Steedle

    v. Sereff, 167 P.3d 135, 138 (Colo. 2007). A wrongful death action must be

    asserted by the “lineal descendents” of the deceased or, in limited circumstances,

    such as those here, his parents. Whitenhill v. Kaiser Permanente, 940 P.2d 1129,

    1131 (Colo. App.1997); C.R.S. § 13-21-201(1)(c). But unlike the Estate’s civil

    rights claims, the damages recoverable in a wrongful death action are expressly

    limited, not only by Colorado’s statutory damage caps, but also by the Colorado

    Governmental Immunity Act. See C.R.S. § 13-21-102.5 and C.R.S. § 24-10-114.

          In light of these two sets of claims, the settlement agreement’s terms make

    perfect sense. The settlement agreement mandates dismissal of all claims against

    the individual defendants first, even before the City signs the settlement

    agreement. The consequences of this material term are that following dismissal of

    those claims, the individual defendants will be dismissed entirely, and Mr. Mosley

    and Ms. McClain, individually, will have no remaining claims against anyone.

    The only remaining claims (the first, second, and thirds claims for relief under 42

    U.S.C. § 1983) belong to Elijah’s Estate. And because the settlement agreement

    mandates that the claims against the individual defendants be dismissed with

    prejudice and without payment, it inevitably and necessarily follows that payment

    must be made solely to Elijah’s Estate.

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          Ms. McClain suggests in her motion (at p.4, n.1) that this outcome results in

    the failure of the settlement agreement for lack of consideration. But this simply is

    not so.

          Under the settlement agreement, the City promises to pay and must pay

    substantial settlement proceeds to the Estate. The City’s promise, as well as the

    payment, constitutes ample consideration to support the settlement agreement,

    even though the proceeds are payable solely to Elijah’s Estate. PayoutOne v.

    Coral Mortg. Bankers, 602 F.Supp.2d 1219, 1224 (D. Colo. 2009)(under Colorado

    law, a promisee need not be the recipient of the bargained-for performance for

    consideration supporting existence of a contract to be found) citing Wellshire

    Land Co. v. City & County of Denver, 103 Colo. 416, 87 P.2d 1, 2 (1939)(“Benefit

    to a third party is sufficient consideration for a contract.”); Digital Advertising

    Displays, Inc. v. Newforth Partners, LLC, 2014WL1292931 (D. Colo. March 31,

    2014)(a promise for a promise is valid consideration); Luby v. Jefferson County

    Bank of Lakewood, 28 Colo. App. 441, 445, 476 P.2d 292, 294 (1970)(rejecting

    lack of consideration argument where bank agreed to pay monies to co-maker of

    note). This is particularly true here, where Ms. McClain and Mr. Mosely are the

    sole beneficiaries of Elijah’s Estate and will receive equal distributions of the net

    settlement proceeds.

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          Deposit of Settlement Proceeds until Resolution of Allocation Motions. The

    Court should (a) order the parties to file the Stipulated Dismissals prepared by the

    City, dismissing all claims against the individual defendants with prejudice and

    without payment; (b) direct the City to sign the settlement agreement; (c) require

    the City to remit the Estate’s settlement proceeds; and (d) require the co-PRs to

    dismiss the Estate’s remaining claims against the City. Consistent with the relief

    requested by Mr. Mosley in his Motion for Court to Resolve Outstanding Issues

    Concerning Settlement Agreement and Allocation Disputes [Dkt. 103, filed

    11/1/21], Mr. Mosley does not object to the Estate’s settlement proceeds being

    deposited with the clerk of the court pending resolution of whatever allocation

    motions may be filed.

          Mr. Mosley notes, however, that the Wrongful Death Act allocation

    provision Ms. McClain intends to rely on has no application here because “any

    damages from survival claims go to the decedent's estate.” Champlin v. Burlington

    Northern Santa Fe Corp., 385 F.Supp. 720, 725 (N.D. Ill. 2005)(applying

    Colorado law in action where wrongful death claims brought by plaintiffs

    individually and survival claims brought by plaintiffs as appointed representatives

    of decedent's estate). The Colorado Probate Code governs the distribution of the

    Estate’s assets and mandates that the Estate’s assets be distributed to the

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    decedent’s parents “equally.” C.R.S. § 15-11-103. Nothing in the Colorado

    Probate Code or any other statute empowers this or any other court to make an

    unequal distribution of estate assets.2

                                       III. Conclusion

          The parties have entered into an enforceable settlement agreement. The

    Court is authorized to enforce the settlement agreement and should do so. Shoels

    v. Klebold, 375 F.3d 1054, 1063 (10th Cir. 2004)(finding enforceable settlement

    agreement existed and rejecting argument that settlement terms were indefinite

    because, among other reasons, there was no way for the parties to know how much

    they would get out of the settlement); Evans-Carmichael v. United States, 250

    Fed.Appx. 256, 262 (10th Cir. 2007)(affirming district court’s enforcement of oral

    settlement agreement without evidentiary hearing and rejection of argument that

    settlement agreement and plaintiff had not agreed to release potential

    constitutional claims); and Siribuor v. UHS of Denver, Inc., 2012WL3590791 at

    *4 (D. Colo., Aug. 20, 2012)(finding email exchange constituted final settlement

    and rejecting argument that specifics of “full release” was a material term that had



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            Mr. Mosley reserves all rights, claims, and defenses concerning any
    requested allocation, including allocation from the gross settlement proceeds for
    attorney fees to which Killmer, Lane & Newman, LLP is entitled under its fee
    agreement and its separate fee sharing contract with Rathod Mohamedbhai LLC.
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    not been negotiated), aff’d 514 Fed.Appx. 811 (10th Cir. 2013). For the reasons

    stated above, the Court should deny the relief sought by Ms. McClain.


          Dated November 15, 2021.

                                                 s/ Patrick D. Tooley
                                                 David R. Struthers
                                                 Patrick D. Tooley
                                                 DILL AND DILL
                                                 455 Sherman Street Ste 300
                                                 Denver, CO 80203
                                                 dstruthers@dillanddill.com
                                                 pdtooley@dillanddill.com
                                                 Attorneys for Lawayne Mosley


                                      Certification

           I hereby certify that the foregoing pleading complies with the type-volume
    limitation set forth in Judge Domenico’s Practice Standard III(A)(1).




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                            CERTIFICATE OF SERVICE

    I hereby certify that on November 15, 2021, I served the foregoing LAWAYNE
    MOSLEY'S RESPONSE TO PLAINTIFF SHENEEN MCCLAIN'S MOTION TO
    CONFIRM SETTLEMENT AND TO DEPOSIT FUNDS IN COURT REGISTRY
    PENDING ALLOCATION OF SETTLEMENT PROCEEDS BETWEEN
    PLAINTIFFS via CM/ECF system on the following:

    Daniel A. Wartell                          Isabelle Sabra Evans
    Loren Michael Brown                        Peter Ruben Morales
    CIANCIO CIANCIO BROWN, P.C.                AURORA CITY ATTORNEY’S OFFICE
    danwartell@colo-law.com                    ievans@auroragov.org
    Lorenbrown@colo-law.com                    pmorales@auroragov.org
    and                                        Attorney for City of Aurora, Alicia
    Siddhartha H. Rathod                       Ward, Dale Leonard, Darren
    Qusair Mohamedbhai                         Dunson, Erica Marrero, James
    Felipe S. Bohnet-Gomez                     Root, Jason Rosenblatt, Jeremy
    Matthew J. Cron                            Cooper, Jordan Mullins0Orcutt,
    Iris Halpern                               Kyle Dittrich, Matthew Green,
    RATHOD MOHAMEDBHAI LLC                     Nathan Woodyard, Peter Cichuniec,
    qm@rmlawyers.com                           Rachel Nunez, Randy Roedema
    ih@rmlawyers.com
    sr@rmlawyers.com                           Jonathan Marshall Abramson
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    Attorneys for Sheneen McClain              jonathan@kandf.com
                                               julie@kandf.com
    Michael Paul Fairhurst                     Attorneys for Alicia Ward, Dale
    Mari Anne Newman                           Leonard, Darren Dunson, Erica
    Liana Gerstle Orshan                       Marrero, James Root, Jason
    KILLMER LANE & NEWMAN LLP                  Rosenblatt, Jordan Mullins-Orcutt,
    mfairhurst@kln-law.com                     Kyle Dittrich, Matthew Green,
    mnewman@kln-law.com                        Nathan Woodyard, Rachel Nunez,
    lorshan@kln-law.com                        Randy Roedema
    Attorney for Estate of Elijah Javon
    McClain, LaWayne Mosley, Sheneen
    McClain


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